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                                 CERTIFICATE OF SERVICE


       I, Karen C. Bifferato, hereby certify that on the 16th day of October 2023, a copy of the
foregoing was served via the Court’s Electronic Filing (ECF) system on all parties registered to
receive electronic notices in this case, and also upon the parties listed below by electronic mail.


                                                              /s/ Karen C. Bifferato
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